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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                    District of Colorado

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Cameron
       Write the name that is on your         First name                                                      First name
       government-issued picture               Alexander
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Quinonez
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any             DBA Consulting and Management Services
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 3           8    0   3                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




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 Debtor 1            Cameron             Alexander                   Quinonez                                       Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                   -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          2900 East Yarrow Cir.
                                          Number            Street                                        Number           Street




                                          Louisville, CO 80027
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Boulder
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Cameron            Alexander               Quinonez                                       Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                              ✔ No. Go to line 12.
                                              ❑
                                              ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Cameron                Alexander               Quinonez                                       Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ❑ No. Go to Part 4.
      any full- or part-time
      business?
                                           ✔ Yes. Name and location of business
                                           ❑
      A sole proprietorship is a               DBA Consulting and Management Services
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a                   2900 East Yarrow Cir
                                               Number         Street
      corporation, partnership, or LLC.

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this              Louisville                                           CO              80027
                                               City                                                State            ZIP Code
      petition.

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ✔ None of the above
                                               ❑

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




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 Debtor 1           Cameron             Alexander               Quinonez                                     Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                   What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                    If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                    Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Cameron             Alexander                  Quinonez                                            Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔ I received a briefing from an approved credit counseling
                                        ❑                                                                     ❑ I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑ I received a briefing from an approved credit counseling            ❑ I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑ I certify that I asked for credit counseling services from an       ❑ I certify that I asked for credit counseling services from an
      again.
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑ I am not required to receive a briefing about credit                ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental                     ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                               realizing or making rational decisions                                realizing or making rational decisions
                                                               about finances.                                                       about finances.
                                             ❑ Disability.      My physical disability causes me to be             ❑ Disability.      My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑ Active duty. I am currently on active military duty in              ❑ Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
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 Debtor 1           Cameron               Alexander                Quinonez                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔ No. Go to line 16b.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ❑ 1-49            ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ✔ 50-99
                                              ❑                 ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ✔ $50,001-$100,000
                                              ❑                                    ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Cameron Alexander Quinonez
                                       Cameron Alexander Quinonez, Debtor 1
                                       Executed on 10/06/2023
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1           Cameron                 Alexander               Quinonez                                       Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Michael Wink                                                     Date 10/06/2023
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Michael Wink
                                                  Printed name

                                                  Wink & Wink, PC
                                                  Firm name

                                                  11101 West 120th Ave Suite 230
                                                  Number      Street



                                                  Broomfield                                                       CO      80021
                                                  City                                                             State   ZIP Code



                                                  Contact phone (303) 410-1720                       Email address mike@winkandwink.com


                                                  32433                                                            CO
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Cameron                      Alexander                    Quinonez
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the: District of                   Colorado

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code         ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                       $0.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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Debtor Quinonez, Cameron Alexander                                                                                          Case number (if known)



       3.1     Make:                           Chevrolet         Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               Silverado
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2011              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            87,000
                                                                 ❑ Check if this is community property (see                                             $8,700.00                 $8,700.00
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Year:                                             ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                  $8,700.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                          $3,975.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Electronics: 3 computes, stereo, 4 TVs, 5 phones, game system and games                                                                $2,000.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
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Debtor Quinonez, Cameron Alexander                                                                                                     Case number (if known)



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Sports Memorabilia: sports cards                                                                                                    $2,000.00


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       fishing $25, camping $100, and sporting $100 equipment                                                                                $225.00


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Remington 700 Series 270 Caliber Long Rifle $300, Remington 1100 12 gauge shotgun $360                                                $660.00


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       clothing and footware                                                                                                                 $700.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       jewelry                                                                                                                               $200.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                  $9,760.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable                             Current value of the portion you own?
 interest in any of the following?                                     Do not deduct secured claims or exemptions.



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Debtor Quinonez, Cameron Alexander                                                                                                                Case number (if known)



 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Chase                                                                                              $5,641.34

                                             17.2. Checking account:                           Chase 6997                                                                                         $2,328.98

                                             17.3. Savings account:                            Chase 7396                                                                                         unknown

                                             17.4. Other financial account:                    Coinbase and Kucoin                                                                                   $7.44


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                        % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                            page 4
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 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ❑ No
       ✔ Yes ......................
       ❑                                                    Institution name or individual:

                                      Security deposit on rental unit:   Keen Real Estate                                                  $3,200.00


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                       Schedule A/B: Property                                            page 5
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Debtor Quinonez, Cameron Alexander                                                                  Case number (if known)



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                   Federal:
                already filed the returns and
                                                                                                              State:
                the tax years. ...................
                                                                                                              Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                              Alimony:

                                                                                                              Maintenance:

                                                                                                              Support:

                                                                                                              Divorce settlement:

                                                                                                              Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                of each policy and list its value. ...   Company name:                         Beneficiary:                          Surrender or refund value:




Official Form 106A/B                                                 Schedule A/B: Property                                                              page 6
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 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                             $11,177.76
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ❑ No. Go to Part 6.
       ✔ Yes. Go to line 38.
       ❑
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                      $12,600.00


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Equipment: computers, ipads, printers, and drone                                                                                               $15,000.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 7
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Debtor Quinonez, Cameron Alexander                                                                                                     Case number (if known)



 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                  $27,600.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                       page 8
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                                                                                                                                                                                        Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                       $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔                   $0.00


 56.   Part 2: Total vehicles, line 5                                                                                  $8,700.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                     page 9
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 57.   Part 3: Total personal and household items, line 15                                                $9,760.00

 58.   Part 4: Total financial assets, line 36                                                          $11,177.76

 59.   Part 5: Total business-related property, line 45                                                 $27,600.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                               $0.00

 61.   Part 7: Total other property not listed, line 54                                 +                      $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                $57,237.76         Copy personal property total         ➔   +   $57,237.76



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................           $57,237.76




Official Form 106A/B                                                               Schedule A/B: Property                                                                   page 10
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Debtor Quinonez, Cameron Alexander                                                      Case number (if known)



                 Continuation Page

 6.               Household goods and furnishings

                  2000 Fender telecaster guitar $700; Taylor 210 acoustic
                  guitar $400, 1993 Gibson Chet Atkins electric acoustic
                  guitar $875, Fender Blues DeVille Amplifier $500                                                $2,475.00

                  Furniture: sofa, 4 end tables, 6 beds, bedroom furniture,
                  dining room set, 6 chairs, 2 coffee tables                                                       $700.00

                  Miscellaneous: bedding, dishes/flatware, pots/pans
                  /utensils, books, 5 bikes, lawnmower, houeshold tools                                            $800.00




Official Form 106A/B                                           Schedule A/B: Property                              page 11
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 Fill in this information to identify your case:

  Debtor 1                    Cameron              Alexander          Quinonez
                              First Name           Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                           District of Colorado

  Case number                                                                                                                       ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the      Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from       Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑            $8,700.00                    Colo. Rev. Stat. § 13-54-102 (1)(j)(I)
 2011 Chevrolet Silverado                                               $8,700.00
                                                                                     ❑ 100% of fair market value, up
 Line from                                                                                 to any applicable statutory limit
 Schedule A/B:          3.1

 Brief description:
                                                                                     ✔
                                                                                     ❑            $2,475.00                    Colo. Rev. Stat. § 13-54-102 (1)(e)
 2000 Fender telecaster guitar $700; Taylor 210                         $2,475.00
 acoustic guitar $400, 1993 Gibson Chet Atkins                                       ❑ 100% of fair market value, up
 electric acoustic guitar $875, Fender Blues DeVille                                       to any applicable statutory limit
 Amplifier $500

 Line from
 Schedule A/B:          6


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                 page 1 of 3
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 Debtor 1             Cameron             Alexander              Quinonez                                     Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on           Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                   portion you own
                                                         Copy the value from     Check only one box for each exemption.
                                                         Schedule A/B
 Brief description:
                                                                                 ✔
                                                                                 ❑              $700.00                   Colo. Rev. Stat. § 13-54-102 (1)(e)
 Furniture: sofa, 4 end tables, 6 beds, bedroom                        $700.00
 furniture, dining room set, 6 chairs, 2 coffee tables                           ❑ 100% of fair market value, up
                                                                                    to any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                                 ✔
                                                                                 ❑              $800.00                   Colo. Rev. Stat. § 13-54-102 (1)(e)
 Miscellaneous: bedding, dishes/flatware,                              $800.00
 pots/pans/utensils, books, 5 bikes, lawnmower,                                  ❑ 100% of fair market value, up
 houeshold tools                                                                    to any applicable statutory limit

 Line from
 Schedule A/B:         6

 Brief description:
                                                                                 ✔
                                                                                 ❑            $2,000.00                   Colo. Rev. Stat. § 13-54-102 (1)(e)
 Electronics: 3 computes, stereo, 4 TVs, 5 phones,                   $2,000.00
 game system and games                                                           ❑ 100% of fair market value, up
                                                                                    to any applicable statutory limit
 Line from
 Schedule A/B:         7

 Brief description:
                                                                                 ✔
                                                                                 ❑              $360.00                   Colo. Rev. Stat 13-54-102(1)(x)
 Remington 700 Series 270 Caliber Long Rifle                           $660.00
 $300, Remington 1100 12 gauge shotgun $360                                      ❑ 100% of fair market value, up
                                                                                    to any applicable statutory limit
 Line from
 Schedule A/B:        10

 Brief description:
                                                                                 ✔
                                                                                 ❑              $700.00                   Colo. Rev. Stat. § 13-54-102 (1)(a)
 clothing and footware                                                 $700.00
                                                                                 ❑ 100% of fair market value, up
 Line from                                                                          to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                                 ✔
                                                                                 ❑              $200.00                   Colo. Rev. Stat. § 13-54-102 (1)(b)
 jewelry                                                               $200.00
                                                                                 ❑ 100% of fair market value, up
 Line from                                                                          to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                                 ✔
                                                                                 ❑            $2,328.98                   Colo. Rev. Stat 13-54-102(1)(w)
 Chase 6997                                                          $2,328.98
 Checking account                                                                ❑ 100% of fair market value, up
                                                                                    to any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                page 2 of 3
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 Debtor 1              Cameron          Alexander             Quinonez                                     Case number (if known)
                       First Name       Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑             unknown                    Colo. Rev. Stat 13-54-102(1)(w)
 Chase 7396                                                        unknown
 Savings account                                                              ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:          17

 Brief description:
                                                                              ✔
                                                                              ❑              $171.02                   Colo. Rev. Stat 13-54-102(1)(w)
 Chase                                                            $5,641.34
 Checking account                                                             ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:          17
                                                                              ✔
                                                                              ❑            $4,376.25                   Colo. Rev. Stat. §§ 13-54-104,
                                                                              ❑ 100% of fair market value, up          5-5-105
                                                                                 to any applicable statutory limit


 Brief description:
                                                                              ✔
                                                                              ❑            $3,200.00                   Colo. Rev. Stat. § 13-54-102 (1)(r)
 Keen Real Estate                                                 $3,200.00
 Security deposit on rental unit                                              ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:          22

 Brief description:
                                                                              ✔
                                                                              ❑           $10,080.00                   Colo. Rev. Stat. §§ 13-54-104,
 Accounts receivable                                             $12,600.00
                                                                              ❑ 100% of fair market value, up          5-5-105
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:          38

 Brief description:
                                                                              ✔
                                                                              ❑           $15,000.00                   Colo. Rev. Stat. § 13-54-102 (1)(i)
 Equipment: computers, ipads, printers, and drone                $15,000.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:          39




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 3 of 3
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 Fill in this information to identify your case:

     Debtor 1            Cameron                Alexander               Quinonez
                         First Name             Middle Name            Last Name

     Debtor 2
     (Spouse, if filing) First Name             Middle Name            Last Name

     United States Bankruptcy Court for the: District of         Colorado

     Case number (if
     known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below.
      Part 1:        List All Secured Claims

 2.        List all secured claims. If a creditor has more than one secured claim, list the creditor           Column A               Column B              Column C
           separately for each claim. If more than one creditor has a particular claim, list the other         Amount of claim        Value of collateral   Unsecured
           creditors in Part 2. As much as possible, list the claims in alphabetical order according to the    Do not deduct the
                                                                                                                                      that supports this    portion
           creditor’s name.                                                                                    value of collateral.
                                                                                                                                      claim                 If any

     2.1                                                 Describe the property that secures the claim:
           Creditor’s Name


           Number         Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                         ❑ Contingent
                                                         ❑ Unliquidated
           City              State        ZIP Code
                                                         ❑ Disputed
           Who owes the debt? Check one.                 Nature of lien. Check all that apply.
           ❑ Debtor 1 only                               ❑ An agreement you made (such as mortgage or secured car loan)
           ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
           ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
           ❑ At least one of the debtors and             ❑ Other (including a right to
               another                                       offset)
           ❑ Check if this claim relates to a
               community debt
           Date debt was incurred                        Last 4 digits of account number

           Add the dollar value of your entries in Column A on this page. Write that number here:                             $0.00




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         Case:23-14564-JGR Doc#:1 Filed:10/06/23                                       Entered:10/06/23 18:23:53 Page24 of 104
Debtor 1         Cameron                Alexander                Quinonez                        Case number (if known)
                 First Name             Middle Name             Last Name


                                                                                                         Column A               Column B                Column C
                 Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                      that supports this      portion
                 After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                 followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                                claim                   If any

  2.2                                              Describe the property that secures the claim:
        Creditor’s Name


        Number       Street
                                                   As of the date you file, the claim is: Check all that apply.
                                                   ❑ Contingent
                                                   ❑ Unliquidated
        City              State      ZIP Code
                                                   ❑ Disputed
        Who owes the debt? Check one.              Nature of lien. Check all that apply.
        ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
        ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
        ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
        ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                    offset)
        ❑ Check if this claim relates to a
          community debt
        Date debt was incurred                     Last 4 digits of account number

        Add the dollar value of your entries in Column A on this page. Write that number here:                          $0.00

        If this is the last page of your form, add the dollar value totals from all pages.                              $0.00
        Write that number here:




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 Fill in this information to identify your case:

  Debtor 1                  Cameron                Alexander        Quinonez
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                         District of Colorado

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

2.1      Colorado Department of Revenue                                                                                            $0.00            $0.00         $0.00
                                                                  Last 4 digits of account number
        Priority Creditor's Name
                                                                  When was the debt incurred?
         Bankruptcy Unit
                                                                  As of the date you file, the claim is: Check all that
         1375 Sherman St., Room 504                               apply.
        Number          Street                                    ❑ Contingent
         Denver, CO 80261                                         ❑ Unliquidated
        City                             State     ZIP Code
                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                                         Type of PRIORITY unsecured claim:
                                                                  ❑ Domestic support obligations
        ❑ Debtor 2 only                                           ✔ Taxes and certain other debts you owe the
                                                                  ❑
        ❑ Debtor 1 and Debtor 2 only                                 government
        ❑ At least one of the debtors and another                 ❑ Claims for death or personal injury while you
        ❑ Check if this claim is for a community debt                were intoxicated
                                                                  ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
         Remarks: Non-consumer




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 Debtor 1            Cameron             Alexander             Quinonez                                        Case number (if known)
                     First Name          Middle Name           Last Name

 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.              Total       Priority       Nonpriority
                                                                                                                      claim       amount         amount

2.2     Internal Revenue Service                                                                                              $0.00          $0.00       $0.00
                                                              Last 4 digits of account number
       Priority Creditor's Name
                                                              When was the debt incurred? 2022
        Central Insolvency Operations
                                                              As of the date you file, the claim is: Check all that
        P.O. Box 7346                                         apply.
                                                              ❑ Contingent
       Number          Street
        Philadelphia, PA 19101-7346
       City                         State    ZIP Code         ❑ Unliquidated
       Who incurred the debt? Check one.                      ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                      Type of PRIORITY unsecured claim:
       ❑ Debtor 2 only                                        ❑ Domestic support obligations
       ❑ Debtor 1 and Debtor 2 only                           ✔ Taxes and certain other debts you owe the
                                                              ❑
       ❑ At least one of the debtors and another                  government
                                                              ❑ Claims for death or personal injury while you
       ❑ Check if this claim is for a community debt              were intoxicated
       Is the claim subject to offset?                        ❑ Other. Specify
       ✔ No
       ❑
       ❑ Yes
        Remarks: Non-consumer

2.3     Melita Quinonez                                                                                                       $0.00          $0.00       $0.00
                                                              Last 4 digits of account number
       Priority Creditor's Name
                                                              When was the debt incurred?
        715 S 34th Street 307
       Number          Street                                 As of the date you file, the claim is: Check all that
                                                              apply.
        Spearfish, SD 57783
       City                         State    ZIP Code         ❑ Contingent
       Who incurred the debt? Check one.                      ❑ Unliquidated
       ✔ Debtor 1 only
       ❑                                                      ❑ Disputed
       ❑ Debtor 2 only                                        Type of PRIORITY unsecured claim:
       ❑ Debtor 1 and Debtor 2 only                           ✔ Domestic support obligations
                                                              ❑
       ❑ At least one of the debtors and another              ❑ Taxes and certain other debts you owe the
       ❑ Check if this claim is for a community debt              government

       Is the claim subject to offset?
                                                              ❑ Claims for death or personal injury while you
                                                                  were intoxicated
       ✔ No
       ❑                                                      ❑ Other. Specify
       ❑ Yes




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 Debtor 1            Cameron              Alexander                Quinonez                                        Case number (if known)
                     First Name            Middle Name             Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     Adams County Public Trustee                                                                                                                              $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        4430 South Adams County Parkway
       Number          Street
                                                                            As of the date you file, the claim is: Check all that apply.
        Brighton, CO 80601
                                                                            ❑ Contingent
       City                           State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                 divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                         Business
       ❑ Yes
4.2     Aerotek, Inc.                                                       Last 4 digits of account number 0942                                                 $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?         2022
        7301 Parkway Dr.                                                    As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                            ❑ Contingent
        Hanover, MD 21076
       City                           State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.
                                                                            ✔ Disputed
                                                                            ❑
       ❑ Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                         divorce that you did not report as priority claims
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                             similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                         Business
       ❑ Yes
        Remarks: business




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 Debtor 1            Cameron             Alexander             Quinonez                                       Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.3     Amazon Com Dedc LLC                                                                                                                    unknown
                                                                        Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        c/o Amazon Com Inc., Real Estate Mgr.
                                                                        As of the date you file, the claim is: Check all that apply.
                                                                        ❑ Contingent
        410 Terry Avenue North
       Number          Street
        Seattle, WA 98109                                               ❑ Unliquidated
       City                          State   ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                ❑ Student loans
       ❑ Debtor 2 only                                                  ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                        ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                        ❑
       Is the claim subject to offset?                                      Business
       ✔ No
       ❑
       ❑ Yes
4.4     AMERICAN EXPRESS                                                Last 4 digits of account number 4083                                         $0.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        1/19/2015
        PO BOX 297871
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        FORT LAUDERDALE, FL 33329
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    CreditCard
       ❑ Yes




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 Debtor 1            Cameron             Alexander             Quinonez                                       Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.5     AMERICAN EXPRESS                                                Last 4 digits of account number 4823                                         $0.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        5/8/2015
        PO BOX 297871
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        FORT LAUDERDALE, FL 33329
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    CreditCard
       ❑ Yes
4.6     Anixter                                                                                                                             $313,111.33
                                                                        Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        P.O. Box 847428
       Number          Street                                           As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75284-7428                                           ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Business
       ❑ Yes




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 Debtor 1            Cameron             Alexander             Quinonez                                       Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.7     B & M Roofing of Colorado Inc.                                                                                                               $0.00
                                                                        Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        3768 Eureka Way
       Number          Street                                           As of the date you file, the claim is: Check all that apply.
        Erie, CO 80516                                                  ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ❑ Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                    divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Business
       ❑ Yes
        Remarks: business

4.8     BELLCO CREDIT UNION                                             Last 4 digits of account number 2609                                         $0.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        2/11/2017
        7600 E ORCHARD RD STE 40
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        GREENWOOD VILLAGE, CO 80111
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ❑ Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                    divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    AutoLoan
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.9     BEST BUY/CBNA                                                      Last 4 digits of account number 7946                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        1/8/2016
        50 NORTHWEST POINT ROAD
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        ELK GROVE VILLAGE, IL 60007
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ChargeAccount
       ❑ Yes
4.10    BLUEGREEN VACATIONS CO                                             Last 4 digits of account number XXXX                                   unknown
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/22/2016
        4960 CONFERENCE WAY N #
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        BOCA RATON, FL 33431
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       TimeSharedLoan
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.11    Brand Energy Services                                                                                                                   $35,141.77
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 91473
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Chicago, IL 60693                                                  ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.12    BrandSafway Solutions, LLC                                                                                                              $24,494.07
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        600 Galleria Parkway SE, Suite 1100
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Atlanta, GA 30339                                                  ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: business




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.13    CAPITAL ONE                                                        Last 4 digits of account number 8354                                 $25,748.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        5/7/2015
        PO BOX 31293
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        SALT LAKE CITY, UT 84131
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       FlexibleSpendingCreditCard
       ❑ Yes
4.14    CAT Financial Cat Card                                                                                                                    unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 735638
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75373-5638                                              ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.15    Caterpillar Financial Commercial                                                                                                          $5,240.58
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        2120 West End Avenue
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Nashville, TN 37203                                                ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: businss

4.16    CED Denver                                                                                                                              $27,883.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 913120
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Denver, CO 80291-3120                                              ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.17    CED Mosenbach                                                                                                                           $33,807.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 780758
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Philadelphia, PA 19178-0758                                        ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.18    Channel Partners Capital LLC                                                                                                            $54,000.12
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        11100 Wayzata Blvd. 305
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Hopkins, MN 55305                                                  ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.19    Comcast                                                                                                                                         $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 60533
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        City of Industry, CA 91716-0533                                    ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.20    DEK Industrial Services                                                                                                                         $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        2005 W 14th St, STE 118
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Tempe, AZ 85281                                                    ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.21    DOUGLASS COLONY GROUP, INC.                                                                                                                     $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        5901 E. 58th Avenue
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Commerce City, CO 80022                                            ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: business

4.22    EquipmentShare                                                                                                                          $66,685.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        5710 Bull Run Dr
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Columbia, MO 65201-2860                                            ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: business




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.23    Greentech Denver                                                                                                                        $23,147.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 207115
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75320-7115                                              ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.24    Greentech Renewables Pittsburgh                                    Last 4 digits of account number 5163                                 $29,314.70
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        2022
        P.O. Box 780846
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Philadelphia, PA 19178-0846
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.25    Home Depot                                                                                                                                unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 790420
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Saint Louis, MO 63179                                              ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.26    JPMCB - CARD SERVICE                                               Last 4 digits of account number 4144                                   $4,331.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        8/1/2018
        PO BOX 15369
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        WILMINGTON, DE 19850
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.27    JPMCB - CARD SERVICE                                               Last 4 digits of account number 6905                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        4/30/2015
        PO BOX 15369
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        WILMINGTON, DE 19850
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes
4.28    Majestic Commercenter Building 29 LLC                                                                                                     unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        13191 Crossroads Pkwy. N Floor 6
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        La Puente, CA 91746                                                ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.29    Melink Corporation                                                                                                                        unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        5140 River Valley Rd
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Milford, OH 45150                                                  ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.30    Melink Corporation                                                                                                                        unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Capital Corporate Services, Inc.
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                           ❑ Contingent
        36 South 18th Ave. D
       Number          Street
        Brighton, CO 80601                                                 ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Business
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.31    Miles Light                                                                                                                                     $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        1105 Maple Ct
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Broomfield, CO 80020                                               ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.32    Performance Personnel Services                                                                                                         $427,997.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        7815 N Dale Mabry, Suite 211
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Tampa, FL 33614                                                    ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.33    Prudential Insurance Company of America                                                                                                   unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        751 Broad Street
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Newark, NJ 07102                                                   ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.34    QED, Inc.                                                          Last 4 digits of account number 8503                                 $11,918.82
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        2023
        1661 W. 3rd Ave.
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Denver, CO 80223
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.35    R.I. Lampus Company                                                                                                                             $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 167
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                           ❑ Contingent
        816 R.I. Lampus Avenue
       Number          Street
        Springdale, PA 15144                                               ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Business
       ✔ No
       ❑
       ❑ Yes
        Remarks: Non-consumer

4.36    RMIP 1002 S. Jason LLC                                                                                                                    unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        c/o Sessions Group LLC
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                           ❑ Contingent
        13275 East Fremont Pl. 350
       Number          Street
        Englewood, CO 80112                                                ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Business
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.37    ROCKET MORTGAGE, LLC                                               Last 4 digits of account number 9092                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/15/2013
        1050 WOODWARD AVE
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        DETROIT, MI 48226
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ConventionalRealEstateMortgage
       ❑ Yes
4.38    SIM SERV FCU                                                       Last 4 digits of account number 6676                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/7/2014
        725 5TH ST
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        RAPID CITY, SD 57701
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.39    Small Business Administration                                                                                                             unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        721 19th Street, Suite 426
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        80202                                                              ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.40    Southwest Mobile Storage                                                                                                                   $333.14
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        1005 N. 50th St
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Phoenix, AZ 85008                                                  ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.41    SYNCB/LOWES                                                        Last 4 digits of account number 6676                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        7/17/2011
        4125 WINDWARD PLAZA
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        ALPHARETTA, GA 30005
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ChargeAccount
       ❑ Yes
4.42    SYNCB/PPC                                                          Last 4 digits of account number 6886                                   $5,631.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        4/22/2018
        PO BOX 530975
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        ORLANDO, FL 32896
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.43    TRUIST/GRNSKY/GSLOAN S                                             Last 4 digits of account number 2827                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/18/2014
        1797 N EAST EXPY NE
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        BROOKHAVEN, GA 30329
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Unsecured
       ❑ Yes
4.44    United Rentals (North America), Inc.                                                                                                            $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Attn: legal Department
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                           ❑ Contingent
        FIVE GREENWICH OFFICE PARK
       Number          Street
        Greenwich, CT 06831                                                ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Business
       ✔ No
       ❑
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.45    United Site Services                                                                                                                            $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        c/o Platinum Equity Advisors, LLC
                                                                           As of the date you file, the claim is: Check all that apply.
                                                                           ❑ Contingent
        360 North Crescent Drive, South Building
       Number          Street
        Beverly Hills, CA 90210                                            ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Business
       ✔ No
       ❑
       ❑ Yes
        Remarks: Non-consumer

4.46    US Bank                                                                                                                                   unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box BOX 3427
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Oshkosh, WI 54903                                                  ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.47    US BANK                                                            Last 4 digits of account number 0450                                 $14,547.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        8/31/2020
        4325 17TH AVE S
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        FARGO, ND 58125
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       FlexibleSpendingCreditCard
       ❑ Yes
4.48    US BANK                                                            Last 4 digits of account number 4869                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        3/23/2017
        PO BOX 5227
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        CINCINNATI, OH 45201
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       HomeEquity
       ❑ Yes




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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.49    VERIZON WIRELESS/SOU                                               Last 4 digits of account number 0001                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        5/30/2017
        PO BOX 650051
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        DALLAS, TX 75265
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.50    W. W. GRAINGER, INC.                                                                                                                            $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        100 Grainger Pkwy
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Lake Forest, IL 60045                                              ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.51    Waco Scaffolding & Equip.                                                                                                                 $3,099.15
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        3345 Drennan Ind. Loop S.
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Colorado Springs, CO 80901                                         ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer

4.52    WELLS FARGO HM MORTGAG                                             Last 4 digits of account number 1992                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        3/1/2013
        8480 STAGECOACH CIR
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        FREDERICK, MD 21701
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       FHARealEstateMortgage
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.53    WELLS FARGO HM MORTGAG                                             Last 4 digits of account number 5455                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        7/25/2008
        8480 STAGECOACH CIR
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        FREDERICK, MD 21701
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       FHARealEstateMortgage
       ❑ Yes
4.54    Wesco Distribution, Inc                                                                                                                         $0.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        3425 East Van Buren Street
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Phoenix, AZ 85008                                                  ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
        Remarks: Non-consumer




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.55    WESTERRA CREDIT UNION                                              Last 4 digits of account number 0008                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        12/31/2012
        3700 E ALAMEDA AVE
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        DENVER, CO 80209
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       DepositRelated
       ❑ Yes
4.56    Westport Finadlay Development LLC                                                                                                         unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        9800 Hillwood Pkwy. 300
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Fort Worth, TX 76177                                               ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes




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 Debtor 1           Cameron              Alexander             Quinonez                                          Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.57    Wex Bank                                                                                                                                  $5,042.35
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 6293
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Carol Stream, IL 60197-6293                                        ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Business
       ❑ Yes
4.58    WF/AMERICAN FURNITUR                                               Last 4 digits of account number 7038                                         $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        1/18/2016
        PO BOX 14517
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        DES MOINES, IA 50306
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ChargeAccount
       ❑ Yes




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 Debtor 1            Cameron             Alexander              Quinonez                                       Case number (if known)
                     First Name          Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Afni, Inc.                                                 On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.19 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        PO Box 3517
        1310 Martin Luther King Drive
                                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
       Number          Street
                                                                   Last 4 digits of account number
        Bloomington, IL 61702
       City                                State     ZIP Code


        Alperstein & Covell, P.C.                                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.34 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1391 Speer Blvd. #730
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Denver, CO 80204
       City                                State     ZIP Code      Last 4 digits of account number

        Amazon - DEN5                                              On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        19799 E. 36th Ave.                                         Line   4.3
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Aurora, CO 80011
       City                                State     ZIP Code      Last 4 digits of account number

        Amazon Com Dedc LLC                                        On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line   4.3
        c/o Amazon Com Inc, General Counsel
        410 Terry Ave. N
                                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
       Number          Street
                                                                   Last 4 digits of account number
        Seattle, WA 98109
       City                                State     ZIP Code


        Amazon Fulfillment Center PIT2                             On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1200 Westport Rd.                                          Line   4.3
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Imperial, PA 15126
       City                                State     ZIP Code      Last 4 digits of account number

        Amazon.com Services LLC                                    On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line   4.3
        f/k/a Amazon.com Services Inc.
        410 Terry Ave. N
                                                                                               ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
       Number          Street
                                                                   Last 4 digits of account number
        Seattle, WA 98109
       City                                State     ZIP Code


        Anixter                                                    On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        2301 Patriot Blvd.                                         Line   4.6
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Glenview, IL 60026
       City                                State     ZIP Code      Last 4 digits of account number




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                   First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        Berg Hill Greenleaf Ruscitti LLP                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.32 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1712 Pearl St.
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Boulder, CO 80302
       City                                State     ZIP Code    Last 4 digits of account number

        Capital One Bank N.A.                                    On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.13 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        PO Box 30285
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Salt Lake City, UT 84130
       City                                State     ZIP Code    Last 4 digits of account number

        Capital One Bank, N.A.                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.13 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1680 Capital One Drive
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Mc Lean, VA 22102
       City                                State     ZIP Code    Last 4 digits of account number

        Chase Bank N.A.                                          On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.26 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        National Bankruptcy Department
        P.O. Box 901032
                                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
       Number          Street
                                                                 Last 4 digits of account number
        Fort Worth, TX 76101-2032
       City                                State     ZIP Code


        Chase Bank, N.A.                                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.26 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Po Box 15298
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Wilmington, DE 19850
       City                                State     ZIP Code    Last 4 digits of account number

        Comcast                                                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.19 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1701 JFK Boulevard
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Philadelphia, PA 19103
       City                                State     ZIP Code    Last 4 digits of account number

        Consolidated Electrical Distributors, Inc.               On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.24 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1033 Meister Lane, Suite 600
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Pflugerville, TX 78660
       City                                State     ZIP Code    Last 4 digits of account number




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 Debtor 1          Cameron             Alexander              Quinonez                                     Case number (if known)
                   First Name          Middle Name            Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        DEK Industrial Services                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.20 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        36 South 18th Avenue, Ste. D
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Brighton, CO 80601
       City                             State      ZIP Code    Last 4 digits of account number

        EquipmentShare                                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.22 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        5050 E 58th Ave
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Commerce City, CO 80022
       City                             State      ZIP Code    Last 4 digits of account number

        EquipmentShare                                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.22 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        15549 State Highway 52
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Fort Lupton, CO 80621
       City                             State      ZIP Code    Last 4 digits of account number

        FisherBroyles LLP                                      On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.29 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1400 16th St 400
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Denver, CO 80202
       City                             State      ZIP Code    Last 4 digits of account number

        Majestic Commercenter Building 29 LLC                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.28 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        20100 32nd Pkwy. 150
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Aurora, CO 80011
       City                             State      ZIP Code    Last 4 digits of account number

        Majestic Commercenter Building 29 LLC                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.28 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        19799 E. 36th Dr.
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Aurora, CO 80011
       City                             State      ZIP Code    Last 4 digits of account number

        Majestic Commercenter Building 29 LLC                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.28 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Cogency Global Inc.
        7700 E. Arapahoe Rd. 220
                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
       Number          Street
                                                               Last 4 digits of account number
        Englewood, CO 80112
       City                             State      ZIP Code




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 Debtor 1           Cameron          Alexander              Quinonez                                     Case number (if known)
                    First Name       Middle Name            Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        McCarthy Burgess and Wolff                           On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.49 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        The M B & W Building
        2600 Cannon Road
                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
       Number          Street
                                                             Last 4 digits of account number
        Bedford, OH 44146
       City                           State      ZIP Code


        Melink Solar & Geo, Inc.                             On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.30 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        5130 River Valley Rd.
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Milford, OH 45150
       City                           State      ZIP Code    Last 4 digits of account number

        Performance Personnel Services                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.32 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        8900 Hwy 98 W
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Pensacola, FL 32506
       City                           State      ZIP Code    Last 4 digits of account number

        Performance Personnel Services                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.32 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        600 North 2nd Street
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Harrisburg, PA 17101
       City                           State      ZIP Code    Last 4 digits of account number

        Performance Personnel Services                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.32 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        4344 Downtowner Loop S
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Mobile, AL 36609
       City                           State      ZIP Code    Last 4 digits of account number

        QED Denver                                           On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.34 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 841462
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Dallas, TX 75284-1462
       City                           State      ZIP Code    Last 4 digits of account number

        QED, Inc.                                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.34 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        5875 S. Decatur
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Las Vegas, NV 89118
       City                           State      ZIP Code    Last 4 digits of account number




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 Debtor 1          Cameron           Alexander              Quinonez                                     Case number (if known)
                   First Name        Middle Name            Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        R.I. Lampus                                          On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.35 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 167
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Springdale, PA 15144
       City                             State    ZIP Code    Last 4 digits of account number

        Richard T Avis, Attorney & Associates, LLC           On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.50 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        PO Box 31579
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Chicago, IL 60631
       City                             State    ZIP Code    Last 4 digits of account number

        Robert H. Winter, Esq.                               On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.24 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1040 S. Gaylord St. 63
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Denver, CO 80209
       City                             State    ZIP Code    Last 4 digits of account number

        Ryan & Ryan LTD                                      On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.35 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        PO Box 233
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Cheswick, PA 15024
       City                             State    ZIP Code    Last 4 digits of account number

        Shook, Hardy & Bacon, LLP                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                          of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        1660 17th St. 450                                    Line   4.2
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        Denver, CO 80202
       City                             State    ZIP Code    Last 4 digits of account number

        Shook, Hardy & Bacon, LLP                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                          of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                             Line   4.2
        Attn: Michael A. Zito
        1800 K Street NW 1000
                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
       Number          Street
                                                             Last 4 digits of account number
        Washington, DC 20006-2202
       City                             State    ZIP Code


        Small Business Administration                        On which entry in Part 1 or Part 2 did you list the original creditor?

                                                             Line 4.39 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        10737 Gateway West, #300
       Number          Street                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                         ❑
        El Paso, TX 79935
       City                             State    ZIP Code    Last 4 digits of account number




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           page 36 of 41
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 Debtor 1          Cameron               Alexander              Quinonez                                     Case number (if known)
                   First Name            Middle Name            Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        Small Business Administration                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.39 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        2 North 20th Street, Suite 320
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Birmingham, AL 35211
       City                               State      ZIP Code    Last 4 digits of account number

        Synchrony Bank                                           On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.42 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 105972
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Atlanta, GA 30348
       City                               State      ZIP Code    Last 4 digits of account number

        Synchrony Bank                                           On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.42 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Attn: Bankruptcy
        PO Box 965061
                                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
       Number          Street
                                                                 Last 4 digits of account number
        Orlando, FL 32896
       City                               State      ZIP Code


        The Leviton Law Firm                                     On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.24 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        One Pierce Pl. 725W
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Itasca, IL 60143
       City                               State      ZIP Code    Last 4 digits of account number

        The Leviton Law Firm                                     On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.16 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        One Pierce Pl. 725W
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Itasca, IL 60143
       City                               State      ZIP Code    Last 4 digits of account number

        The Leviton Law Firm                                     On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.17 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        One Pierce Pl. 725W
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Itasca, IL 60143
       City                               State      ZIP Code    Last 4 digits of account number

        Transworld Systems                                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                 Line 4.46 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        500 Virginia Dr Suite 514
       Number          Street                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                             ❑
        Fort Washington, PA 19034
       City                               State      ZIP Code    Last 4 digits of account number




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 37 of 41
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 Debtor 1          Cameron             Alexander              Quinonez                                     Case number (if known)
                   First Name          Middle Name            Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        United Rentals (North America), Inc.                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.44 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 840514
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Dallas, TX 75284-0514
       City                              State     ZIP Code    Last 4 digits of account number

        United Site Services                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.45 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        118 Flanders Road
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Westborough, MA 01581
       City                              State     ZIP Code    Last 4 digits of account number

        United Site Services of Colorado, Inc.                 On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.45 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 660475
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Dallas, TX 75266-0475
       City                              State     ZIP Code    Last 4 digits of account number

        US Bank                                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.47 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        BC-MN-H21N
        800 Nicollet Mall
                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
       Number          Street
                                                               Last 4 digits of account number
        Minneapolis, MN 55402-0000
       City                              State     ZIP Code


        US Bank                                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.47 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        101 5th Street, Suite A
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Saint Paul, MN 55101
       City                              State     ZIP Code    Last 4 digits of account number

        US Bank                                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.46 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        BC-MN-H21N
        800 Nicollet Mall
                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
       Number          Street
                                                               Last 4 digits of account number
        Minneapolis, MN 55402-0000
       City                              State     ZIP Code


        US Bank                                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.46 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        101 5th Street, Suite A
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Saint Paul, MN 55101
       City                              State     ZIP Code    Last 4 digits of account number




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                        page 38 of 41
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 Debtor 1          Cameron            Alexander               Quinonez                                     Case number (if known)
                   First Name         Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        US Small Business Administration                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.39 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 3918
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Portland, OR 97208-3918
       City                             State      ZIP Code    Last 4 digits of account number

        Verizon                                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.49 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 16810
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Newark, NJ 07101
       City                             State      ZIP Code    Last 4 digits of account number

        W.W. Grainger                                          On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.50 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 419267
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Kansas City, MO 64141
       City                             State      ZIP Code    Last 4 digits of account number

        Waco Scaffolding and Equip.                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.51 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        121 E. 58th Ave.
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Denver, CO 80216
       City                             State      ZIP Code    Last 4 digits of account number

        Wesco                                                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.54 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 802578
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Chicago, IL 60680
       City                             State      ZIP Code    Last 4 digits of account number

        Wesco International                                    On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.54 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        225 West Station Square Drive, Suite 700
       Number          Street                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
        Pittsburgh, PA 15219
       City                             State      ZIP Code    Last 4 digits of account number

        Westport Findlay Development LLC                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                               Line 4.56 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        c/o Hillwood Development Company LLC
        3000 Turtle Creek Blvd.
                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                           ❑
       Number          Street
                                                               Last 4 digits of account number
        Dallas, TX 75219
       City                             State      ZIP Code




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 39 of 41
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 Debtor 1          Cameron        Alexander              Quinonez                                     Case number (if known)
                   First Name     Middle Name            Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        Wex Bank                                          On which entry in Part 1 or Part 2 did you list the original creditor?

                                                          Line 4.57 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        111 E Sego Lily Dr. 250
       Number          Street                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                      ❑
        Sandy, UT 84070
       City                        State      ZIP Code    Last 4 digits of account number




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                        page 40 of 41
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 Debtor 1          Cameron                Alexander              Quinonez                                    Case number (if known)
                   First Name             Middle Name            Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                           Total claim


                   6a. Domestic support obligations                             6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                6b.                             $0.00
                       government

                   6c. Claims for death or personal injury while you            6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.          6d.    +                        $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                          6e.                              $0.00




                                                                                           Total claim


                   6f. Student loans                                            6f.                             $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                  6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and            6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured               6i.    +                 $1,111,472.03
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                          6j.                      $1,111,472.03




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 41 of 41
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 Fill in this information to identify your case:

     Debtor 1                       Cameron              Alexander       Quinonez
                                    First Name           Middle Name     Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name     Last Name

     United States Bankruptcy Court for the:                            District of Colorado

     Case number                                                                                                                         ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                             Services to be performed by Debtor
        GEN PRO Energy Solutions                                                                Contract to be ASSUMED
        Name
        13261 Timberland Plaza, Suite B
        Number    Street
        Piedmont, SD 57769
        City                                     State   ZIP Code

2.2                                                                                             Residential lease
        Keen Real Estate Group                                                                  Contract to be ASSUMED
        Name
        2000 S Colorado Blvd
        Number     Street
        Denver, CO 80222
        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                       Cameron                Alexander         Quinonez
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                                District of Colorado

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                         . Fill in the name and current address of that person.


                Name

                Number           Street

                City                                  State   ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                              Column 2: The creditor to whom you owe the debt
                                                                                                            Check all schedules that apply:
3.1
      Solar Purpose LLC                                                                                     ❑ Schedule D, line
      Name                                                                                                  ✔ Schedule E/F, line 4.2, 4.7, 4.15, 4.22
                                                                                                            ❑
      2900 East Yarrow Cir.
      Number            Street                                                                              ❑ Schedule G, line
      Louisville, CO 80027
      City                                    State   ZIP Code




Official Form 106H                                                            Schedule H: Your Codebtors                                                     Page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                  Cameron                Alexander       Quinonez
                           First Name              Middle Name     Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name     Last Name                                             Check if this is:

  United States Bankruptcy Court for the:                         District of Colorado                                   ❑ An amended filing
                                                                                                                         ❑ A supplement showing postpetition
  Case number                                                                                                               chapter 13 income as of the following date:
  (if known)

                                                                                                                            MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                            Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status          ✔ Employed ❑ Not Employed
                                                                        ❑                                                 ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                 Consultant
     employers.
                                             Employer's name            Self Employed-Consulting and Management
     Include part time, seasonal, or
     self-employed work.                                                Svcs.
                                             Employer's address         2900 E. Yarro Cir.
     Occupation may include student                                      Number Street                                     Number Street
     or homemaker, if it applies.




                                                                        Louisville, CO 80027
                                                                         City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1   For Debtor 2 or
                                                                                                                     non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.          2.                 $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                              3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                         4.                 $0.00                     $0.00




Official Form 106I                                                       Schedule I: Your Income                                                              page 1
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 Debtor 1                 Cameron                      Alexander                       Quinonez                                      Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h. +             $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.          $11,154.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.           $11,154.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $11,154.00    +               $0.00         =         $11,154.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $11,154.00

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Debtor 1              Cameron          Alexander             Quinonez                          Case number (if known)
                       First Name       Middle Name           Last Name


   8a. Attached Statement
                                                                  Business Income

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                           $24,070.00

   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Ordinary and necessary expense                                                                          $0.00

       3.   Net Employee Payroll (Other than debtor)                                                            $7,090.00

       4.   Payroll Taxes                                                                                         $743.00

       5.   Unemployment Taxes                                                                                      $0.00

       6.   Worker's Compensation                                                                                 $123.00

       7.   Other Taxes                                                                                            $10.00

       8.   Inventory Purchases (Including raw materials)                                                       $3,344.00

       9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                  $0.00

       10. Rent (Other than debtor's principal residence)                                                           $0.00

       11. Utilities                                                                                                $0.00

       12. Office Expenses and Supplies                                                                           $245.00

       13. Repairs and Maintenance                                                                                  $0.00

       14. Vehicle Expenses                                                                                         $0.00

       15. Travel and Entertainment                                                                                 $0.00

       16. Equipment Rental and Leases                                                                              $0.00

       17. Legal/Accounting/Other Professional Fees                                                             $1,000.00

       18. Insurance                                                                                              $361.00

       19. Employee Benefits (e.g., pension, medical, etc.)                                                         $0.00

       20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
           Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                     $0.00

       21. Other Expenses
            TOTAL OTHER EXPENSES                                                                                    $0.00

                                                                                                                            $12,916.00
       22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                         $11,154.00




Official Form 106I                                                  Schedule I: Your Income                                      page 3
               Case:23-14564-JGR Doc#:1 Filed:10/06/23                                          Entered:10/06/23 18:23:53 Page71 of 104

 Fill in this information to identify your case:

  Debtor 1                  Cameron                 Alexander            Quinonez
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                              District of Colorado
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               16                 ✔ No. ❑ Yes.
                                                                                                                                               ❑
                                                                                        Child                               10                 ✔ No. ❑ Yes.
                                                                                                                                               ❑
                                                                                        Child                               14                 ✔ No. ❑ Yes.
                                                                                                                                               ❑
                                                                                        Child                               12                 ✔ No. ❑ Yes.
                                                                                                                                               ❑
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $2,900.00


     If not included in line 4:
                                                                                                                              4a.                          $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                     $100.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
             Case:23-14564-JGR Doc#:1 Filed:10/06/23                                  Entered:10/06/23 18:23:53 Page72 of 104

 Debtor 1             Cameron               Alexander             Quinonez                                   Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $250.00

       6b. Water, sewer, garbage collection                                                                        6b.                   $120.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $250.00

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                    $800.00

 8.    Childcare and children’s education costs                                                                    8.                  $2,000.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $200.00

 10. Personal care products and services                                                                           10.                       $50.00

 11.   Medical and dental expenses                                                                                 11.                   $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $400.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                   $150.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                  $400.00

       15c. Vehicle insurance                                                                                      15c.                  $300.00

       15d. Other insurance. Specify:                                                                              15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: Income tax                                                                                         16.                 $1,200.00

 17. Installment or lease payments:
                                                                                                                   17a.                       $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                 $1,870.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                 page 2
            Case:23-14564-JGR Doc#:1 Filed:10/06/23                                 Entered:10/06/23 18:23:53 Page73 of 104

 Debtor 1            Cameron             Alexander             Quinonez                                     Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                       Miscellaneous                                                          21.     +              $60.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $11,150.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $11,150.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $11,154.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $11,150.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                    $4.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:

  Debtor 1                      Cameron                     Alexander                Quinonez
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                         District of Colorado

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                              $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                              $57,237.76

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                        $57,237.76



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                      $0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                           $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +          $1,111,472.03


                                                                                                                                                  Your total liabilities                  $1,111,472.03

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $11,154.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $11,150.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1            Cameron               Alexander              Quinonez                                          Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Cameron                Alexander        Quinonez
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                          District of Colorado

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Cameron Alexander Quinonez
        Cameron Alexander Quinonez, Debtor 1


        Date 10/06/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
               Case:23-14564-JGR Doc#:1 Filed:10/06/23                                    Entered:10/06/23 18:23:53 Page77 of 104

 Fill in this information to identify your case:

  Debtor 1                  Cameron                Alexander         Quinonez
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                          District of Colorado

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
     114 Joeschavez Dr.                                    From 03/2020                                                                   From
    Number       Street                                                               Number     Street
                                                           To     07/2022                                                                 To

     80140
    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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Debtor 1            Cameron           Alexander              Quinonez                                        Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ✔ Operating a business
                                               ❑                                    $201,481.00        ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                   $109,622.00            bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ✔ Operating a business
                                               ❑                                  $3,232,967.00        ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                   $186,610.00            bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $837,985.00        ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2022       )
                                   YYYY




    For the calendar year before that:
    (January 1 to December 31, 2021       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1             Cameron                      Alexander            Quinonez                                       Case number (if known)
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

             Internal Revenue Service                             08/15/2023                  $31,680.00                         $0.00   ❑ Mortgage
                                                                                                                                         ❑ Car
             Creditor's Name
             Central Insolvency Operations
                                                                                                                                         ❑ Credit card
             P.O. Box 7346
             Number       Street                                                                                                         ❑ Loan repayment
             Philadelphia, PA 19101-7346                                                                                                 ❑ Suppliers or vendors
             City                         State      ZIP Code                                                                            ✔ Other
                                                                                                                                         ❑


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Cameron               Alexander                Quinonez                                       Case number (if known)
                     First Name            Middle Name              Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                             Dates of           Total amount paid   Amount you still           Reason for this payment
                                                             payment                                owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                       Court or agency                                  Status of the case


                                                                                                                                             ✔ Pending
                                                     Civil
    Case title        QED, Inc. v. Solar
                      Purpose LLC and
                                                                                             Denver County Court                             ❑
                                                                                                                                             ❑ On appeal
                                                                                             Court Name
                      Camerion Quinonez
                                                                                             1437 Bannock St. #164
    Case number 2023C58503                                                                   Number       Street                             ❑ Concluded
                                                                                             Denver, CO 80202
                                                                                             City                      State     ZIP Code


    Case title        Aerotek Inc. v. Solar                                                  District Court, Adams County, Colorado          ✔ Pending
                                                                                                                                             ❑
                      Purpose LLC, et. al.
                                                                                                                                             ❑ On appeal
                                                                                             Court Name
                                                                                             1100 Judicial Center Dr.
    Case number 2023CV30942
                                                                                             Number       Street                             ❑ Concluded
                                                                                             Brighton, CO 80601
                                                                                             City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 4
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Debtor 1            Cameron                Alexander               Quinonez                                       Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name


    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code
                                                                   ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name


    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1             Cameron                Alexander            Quinonez                                       Case number (if known)
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                         Dates you gave      Value
     per person                                                                                                      the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you               Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
    Describe the property you lost and Describe any insurance coverage for the loss                            Date of your loss      Value of property lost
    how the loss occurred              Include the amount that insurance has paid. List pending
                                       insurance claims on line 33 of Schedule A/B: Property.
    Cryptocurreny                      None
                                                                                                              2022                               $11,728.48




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Debtor 1            Cameron             Alexander             Quinonez                                      Case number (if known)
                    First Name          Middle Name           Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Wink & Wink, PC                                                                                        transfer was made
    Person Who Was Paid                       Attorney's Fee; Attorney's Fees; Attorney's fees and costs
                                                                                                           10/6/2023                        $3,000.00
    11101 West 120th Ave Suite 230
    Number     Street
                                                                                                           12/09/2022                       $5,000.00

                                                                                                           8/14/23                          $3,000.00
    Broomfield, CO 80021
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




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Debtor 1            Cameron             Alexander             Quinonez                                      Case number (if known)
                    First Name          Middle Name           Last Name

                                               Description and value of property          Describe any property or payments           Date transfer was
                                               transferred                                received or debts paid in exchange          made
    unknown crypto purchaser                  Debtor lost apprx $5,884 trading crypto
    Person Who Received Transfer                                                                                                      2022


    Number     Street



    City                   State   ZIP Code


    Person's relationship to you


                                              $2,252.08
    unknown crypto purchaser                                                                                                          2023
    Person Who Received Transfer


    Number     Street



    City                   State   ZIP Code


    Person's relationship to you
    none




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of the property transferred                                       Date transfer was
                                                                                                                                      made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




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Debtor 1            Cameron              Alexander            Quinonez                                            Case number (if known)
                    First Name           Middle Name          Last Name

                                                Last 4 digits of account number            Type of account or      Date account was          Last balance
                                                                                           instrument              closed, sold, moved, or   before closing or
                                                                                                                   transferred               transfer
    US Bank
                                                                                       ✔ Checking
                                                                                                                     March 2023                       $0.00
                                                                                       ❑
    Name of Financial Institution               XXXX– 5       7    6       7

    PO Box BOX 3427                                                                    ❑ Savings
                                                                                       ❑ Money market
    Number      Street


                                                                                       ❑ Brokerage
                                                                                       ❑ Other
    Oshkosh, WI 54903
    City                   State    ZIP Code

    US Bank
                                                                                                                     March 2023                       $0.00
                                                                                       ❑ Checking
    Name of Financial Institution               XXXX– x       x    x       x

    PO Box BOX 3427                                                                    ✔ Savings
                                                                                       ❑
                                                                                       ❑ Money market
    Number      Street


                                                                                       ❑ Brokerage
                                                                                       ❑ Other
    Oshkosh, WI 54903
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                      Describe the contents                        Do you still have
                                                                                                                                              it?

                                                                                                                                             ❑ No
    Name of Financial Institution               Name
                                                                                                                                             ❑ Yes

    Number      Street                          Number    Street



                                                City                   State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Who else has or had access to it?               Describe the contents                        Do you still have
                                                                                                                                              it?
                                                                                                 baseball cards
    Ace Storage                                  no one                                                                                      ❑ No
    Name of Storage Facility                    Name
                                                                                                                                             ✔ Yes
                                                                                                                                             ❑
    W Cramer & County Road 106 5
    Number      Street                          Number    Street



                                                City                    State    ZIP Code
    Alamosa, CO 81101
    City                    State    ZIP Code




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Debtor 1            Cameron             Alexander             Quinonez                                             Case number (if known)
                    First Name          Middle Name            Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Where is the property?                             Describe the property                     Value


    Owner's Name
                                               Number     Street


    Number     Street

                                               City                       State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                             Environmental law, if you know it              Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number     Street


                                              City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Cameron               Alexander                 Quinonez                                         Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                     Date of notice


    Name of site                                  Governmental unit



    Number        Street                          Number       Street


                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                    Status of the case


    Case title
                                                  Court Name
                                                                                                                                                  ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           ❑
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Solar Purpose LLC                                                                                        Do not include Social Security number or ITIN.
    Name
                                                   Construction
                                                                                                              EIN:    4    7 – 2   1   2      5   0   2   2
    1008 South Jason St.
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed
                                                   Candy Nielson
                                                                                                              From 10/20/2014       To 12/31/2022
    Denver, CO 80223
    City                    State   ZIP Code




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Debtor 1            Cameron             Alexander               Quinonez                                     Case number (if known)
                    First Name          Middle Name             Last Name

                                                Describe the nature of the business                  Employer Identification number
     DBA Consulting and Management                                                                   Do not include Social Security number or ITIN.
     Services
    Name
                                                                                                      EIN:             –

     2900 East Yarrow Cir
    Number     Street                                                                                Dates business existed
                                                Name of accountant or bookkeeper

                                                                                                      From 1/1/23           To ongoing
     Louisville, CO 80027
    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                Date issued



    Name                                       MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




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 Debtor 1           Cameron             Alexander             Quinonez                                      Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Cameron Alexander Quinonez
        Signature of Cameron Alexander Quinonez, Debtor 1


        Date 10/06/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF COLORADO
                                                            DENVER DIVISION

IN RE: Quinonez, Cameron Alexander                                                    CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      10/06/2023            Signature                          /s/ Cameron Alexander Quinonez
                                                                  Cameron Alexander Quinonez, Debtor
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                              Adams County Public Trustee
                              4430 South Adams County Parkway
                              Brighton, CO 80601




                              Aerotek, Inc.
                              7301 Parkway Dr.
                              Hanover, MD 21076




                              Afni, Inc.
                              PO Box 3517
                              1310 Martin Luther King Drive
                              Bloomington, IL 61702



                              Alperstein & Covell, P.C.
                              1391 Speer Blvd. #730
                              Denver, CO 80204




                              Amazon - DEN5
                              19799 E. 36th Ave.
                              Aurora, CO 80011




                              Amazon Com Dedc LLC
                              c/o Amazon Com Inc., Real Estate Mgr.
                              410 Terry Avenue North
                              Seattle, WA 98109



                              Amazon Com Dedc LLC
                              c/o Amazon Com Inc, General Counsel
                              410 Terry Ave. N
                              Seattle, WA 98109



                              Amazon Fulfillment Center
                              PIT2
                              1200 Westport Rd.
                              Imperial, PA 15126
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                              Amazon.com Services LLC
                              f/k/a Amazon.com Services Inc.
                              410 Terry Ave. N
                              Seattle, WA 98109



                              AMERICAN EXPRESS
                              PO BOX 297871
                              FORT LAUDERDALE, FL 33329




                              Anixter
                              P.O. Box 847428
                              Dallas, TX 75284-7428




                              Anixter
                              2301 Patriot Blvd.
                              Glenview, IL 60026




                              B & M Roofing of Colorado
                              Inc.
                              3768 Eureka Way
                              Erie, CO 80516



                              BELLCO CREDIT UNION
                              7600 E ORCHARD RD STE 40
                              GREENWOOD VILLAGE, CO 80111




                              Berg Hill Greenleaf Ruscitti
                              LLP
                              1712 Pearl St.
                              Boulder, CO 80302



                              BEST BUY/CBNA
                              50 NORTHWEST POINT ROAD
                              ELK GROVE VILLAGE, IL 60007
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                              BLUEGREEN VACATIONS CO
                              4960 CONFERENCE WAY N #
                              BOCA RATON, FL 33431




                              Brand Energy Services
                              P.O. Box 91473
                              Chicago, IL 60693




                              BrandSafway Solutions, LLC
                              600 Galleria Parkway SE, Suite 1100
                              Atlanta, GA 30339




                              CAPITAL ONE
                              PO BOX 31293
                              SALT LAKE CITY, UT 84131




                              Capital One Bank N.A.
                              PO Box 30285
                              Salt Lake City, UT 84130




                              Capital One Bank, N.A.
                              1680 Capital One Drive
                              Mc Lean, VA 22102




                              CAT Financial Cat Card
                              P.O. Box 735638
                              Dallas, TX 75373-5638




                              Caterpillar Financial
                              Commercial
                              2120 West End Avenue
                              Nashville, TN 37203
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                              CED Denver
                              P.O. Box 913120
                              Denver, CO 80291-3120




                              CED Mosenbach
                              P.O. Box 780758
                              Philadelphia, PA 19178-0758




                              Channel Partners Capital LLC
                              11100 Wayzata Blvd. 305
                              Hopkins, MN 55305




                              Chase Bank N.A.
                              National Bankruptcy Department
                              P.O. Box 901032
                              Fort Worth, TX 76101-2032



                              Chase Bank, N.A.
                              Po Box 15298
                              Wilmington, DE 19850




                              Colorado Department of
                              Revenue
                              Bankruptcy Unit
                              1375 Sherman St., Room 504
                              Denver, CO 80261


                              Comcast
                              P.O. Box 60533
                              City of Industry, CA 91716-0533




                              Comcast
                              1701 JFK Boulevard
                              Philadelphia, PA 19103
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                              Consolidated Electrical
                              Distributors, Inc.
                              1033 Meister Lane, Suite 600
                              Pflugerville, TX 78660



                              DEK Industrial Services
                              2005 W 14th St, STE 118
                              Tempe, AZ 85281




                              DEK Industrial Services
                              36 South 18th Avenue, Ste. D
                              Brighton, CO 80601




                              DOUGLASS COLONY GROUP,
                              INC.
                              5901 E. 58th Avenue
                              Commerce City, CO 80022



                              EquipmentShare
                              5710 Bull Run Dr
                              Columbia, MO 65201-2860




                              EquipmentShare
                              5050 E 58th Ave
                              Commerce City, CO 80022




                              EquipmentShare
                              15549 State Highway 52
                              Fort Lupton, CO 80621




                              FisherBroyles LLP
                              1400 16th St 400
                              Denver, CO 80202
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                              Greentech Denver
                              P.O. Box 207115
                              Dallas, TX 75320-7115




                              Greentech Renewables
                              Pittsburgh
                              P.O. Box 780846
                              Philadelphia, PA 19178-0846



                              Home Depot
                              P.O. Box 790420
                              Saint Louis, MO 63179




                              Internal Revenue Service
                              Central Insolvency Operations
                              P.O. Box 7346
                              Philadelphia, PA 19101-7346



                              JPMCB - CARD SERVICE
                              PO BOX 15369
                              WILMINGTON, DE 19850




                              Majestic Commercenter
                              Building 29 LLC
                              13191 Crossroads Pkwy. N Floor 6
                              La Puente, CA 91746



                              Majestic Commercenter
                              Building 29 LLC
                              20100 32nd Pkwy. 150
                              Aurora, CO 80011



                              Majestic Commercenter
                              Building 29 LLC
                              19799 E. 36th Dr.
                              Aurora, CO 80011
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                              Majestic Commercenter
                              Building 29 LLC
                              Cogency Global Inc.
                              7700 E. Arapahoe Rd. 220
                              Englewood, CO 80112


                              McCarthy Burgess and Wolff
                              The M B & W Building
                              2600 Cannon Road
                              Bedford, OH 44146



                              Melink Corporation
                              5140 River Valley Rd
                              Milford, OH 45150




                              Melink Corporation
                              Capital Corporate Services, Inc.
                              36 South 18th Ave. D
                              Brighton, CO 80601



                              Melink Solar & Geo, Inc.
                              5130 River Valley Rd.
                              Milford, OH 45150




                              Melita Quinonez
                              715 S 34th Street 307
                              Spearfish, SD 57783




                              Miles Light
                              1105 Maple Ct
                              Broomfield, CO 80020




                              Performance Personnel
                              Services
                              7815 N Dale Mabry, Suite 211
                              Tampa, FL 33614
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                              Performance Personnel
                              Services
                              8900 Hwy 98 W
                              Pensacola, FL 32506



                              Performance Personnel
                              Services
                              600 North 2nd Street
                              Harrisburg, PA 17101



                              Performance Personnel
                              Services
                              4344 Downtowner Loop S
                              Mobile, AL 36609



                              Prudential Insurance
                              Company of America
                              751 Broad Street
                              Newark, NJ 07102



                              QED Denver
                              P.O. Box 841462
                              Dallas, TX 75284-1462




                              QED, Inc.
                              1661 W. 3rd Ave.
                              Denver, CO 80223




                              QED, Inc.
                              5875 S. Decatur
                              Las Vegas, NV 89118




                              R.I. Lampus
                              P.O. Box 167
                              Springdale, PA 15144
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                              R.I. Lampus Company
                              P.O. Box 167
                              816 R.I. Lampus Avenue
                              Springdale, PA 15144



                              Richard T Avis, Attorney &
                              Associates, LLC
                              PO Box 31579
                              Chicago, IL 60631



                              RMIP 1002 S. Jason LLC
                              c/o Sessions Group LLC
                              13275 East Fremont Pl. 350
                              Englewood, CO 80112



                              Robert H. Winter, Esq.
                              1040 S. Gaylord St. 63
                              Denver, CO 80209




                              ROCKET MORTGAGE, LLC
                              1050 WOODWARD AVE
                              DETROIT, MI 48226




                              Ryan & Ryan LTD
                              PO Box 233
                              Cheswick, PA 15024




                              Shook, Hardy & Bacon, LLP
                              1660 17th St. 450
                              Denver, CO 80202




                              Shook, Hardy & Bacon, LLP
                              Attn: Michael A. Zito
                              1800 K Street NW 1000
                              Washington, DC 20006-2202
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                              SIM SERV FCU
                              725 5TH ST
                              RAPID CITY, SD 57701




                              Small Business
                              Administration
                              721 19th Street, Suite 426
                              80202



                              Small Business
                              Administration
                              10737 Gateway West, #300
                              El Paso, TX 79935



                              Small Business
                              Administration
                              2 North 20th Street, Suite 320
                              Birmingham, AL 35211



                              Solar Purpose LLC
                              2900 East Yarrow Cir.
                              Louisville, CO 80027




                              Southwest Mobile Storage
                              1005 N. 50th St
                              Phoenix, AZ 85008




                              SYNCB/LOWES
                              4125 WINDWARD PLAZA
                              ALPHARETTA, GA 30005




                              SYNCB/PPC
                              PO BOX 530975
                              ORLANDO, FL 32896
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                              Synchrony Bank
                              P.O. Box 105972
                              Atlanta, GA 30348




                              Synchrony Bank
                              Attn: Bankruptcy
                              PO Box 965061
                              Orlando, FL 32896



                              The Leviton Law Firm
                              One Pierce Pl. 725W
                              Itasca, IL 60143




                              Transworld Systems
                              500 Virginia Dr Suite 514
                              Fort Washington, PA 19034




                              TRUIST/GRNSKY/GSLOAN S
                              1797 N EAST EXPY NE
                              BROOKHAVEN, GA 30329




                              United Rentals (North
                              America), Inc.
                              Attn: legal Department
                              FIVE GREENWICH OFFICE PARK
                              Greenwich, CT 06831


                              United Rentals (North
                              America), Inc.
                              P.O. Box 840514
                              Dallas, TX 75284-0514



                              United Site Services
                              c/o Platinum Equity Advisors, LLC
                              360 North Crescent Drive, South Building
                              Beverly Hills, CA 90210
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                              United Site Services
                              118 Flanders Road
                              Westborough, MA 01581




                              United Site Services of
                              Colorado, Inc.
                              P.O. Box 660475
                              Dallas, TX 75266-0475



                              US Bank
                              BC-MN-H21N
                              800 Nicollet Mall
                              Minneapolis, MN 55402-0000



                              US Bank
                              101 5th Street, Suite A
                              Saint Paul, MN 55101




                              US Bank
                              PO Box BOX 3427
                              Oshkosh, WI 54903




                              US BANK
                              4325 17TH AVE S
                              FARGO, ND 58125




                              US BANK
                              PO BOX 5227
                              CINCINNATI, OH 45201




                              US Small Business
                              Administration
                              P.O. Box 3918
                              Portland, OR 97208-3918
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                              Verizon
                              P.O. Box 16810
                              Newark, NJ 07101




                              VERIZON WIRELESS/SOU
                              PO BOX 650051
                              DALLAS, TX 75265




                              W. W. GRAINGER, INC.
                              100 Grainger Pkwy
                              Lake Forest, IL 60045




                              W.W. Grainger
                              P.O. Box 419267
                              Kansas City, MO 64141




                              Waco Scaffolding & Equip.
                              3345 Drennan Ind. Loop S.
                              Colorado Springs, CO 80901




                              Waco Scaffolding and Equip.
                              121 E. 58th Ave.
                              Denver, CO 80216




                              WELLS FARGO HM MORTGAG
                              8480 STAGECOACH CIR
                              FREDERICK, MD 21701




                              Wesco
                              P.O. Box 802578
                              Chicago, IL 60680
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                              Wesco Distribution, Inc
                              3425 East Van Buren Street
                              Phoenix, AZ 85008




                              Wesco International
                              225 West Station Square Drive, Suite 700
                              Pittsburgh, PA 15219




                              WESTERRA CREDIT UNION
                              3700 E ALAMEDA AVE
                              DENVER, CO 80209




                              Westport Finadlay
                              Development LLC
                              9800 Hillwood Pkwy. 300
                              Fort Worth, TX 76177



                              Westport Findlay
                              Development LLC
                              c/o Hillwood Development Company LLC
                              3000 Turtle Creek Blvd.
                              Dallas, TX 75219


                              Wex Bank
                              P.O. Box 6293
                              Carol Stream, IL 60197-6293




                              Wex Bank
                              111 E Sego Lily Dr. 250
                              Sandy, UT 84070




                              WF/AMERICAN FURNITUR
                              PO BOX 14517
                              DES MOINES, IA 50306
